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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NATIONAL TPS ALLIANCE, et al.,                      Case No. 25-cv-01766-EMC (SK)
                                   8                    Plaintiffs,
                                                                                             ORDER REGARDING PRESIDENTIAL
                                   9              v.                                         COMMUNICATIONS PRIVILEGE
                                  10     KRISTI NOEM, et al.,
                                                                                             Regarding Docket No. 197
                                  11                    Defendants.

                                  12           This matter comes before the Undersigned on a discovery dispute regarding Defendants’
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                                  13   invocation of the presidential communications privilege as to six documents. (Dkt. No. 197.)

                                  14                                             BACKGROUND

                                  15           On June 13, 2025, the parties filed a joint discovery letter brief regarding the propriety of

                                  16   Defendants’ presidential communications privilege assertions over eight documents. (Dkt. No.

                                  17   197.) During the June 23, 2025 hearing, Plaintiffs’ counsel informed the Undersigned that only

                                  18   six documents remained in dispute. (Dkt. No. 217.) The Undersigned ordered Defendants to

                                  19   produce these documents for in camera review. (Id.) Upon review of the documents, the

                                  20   Undersigned found that “the documents on their face did not demonstrate that” the presidential

                                  21   communications privilege applies. (Dkt. No. 220.) On June 24, 2025, the Undersigned ordered

                                  22   Defendants to provide a declaration explaining why the privilege applies to the documents in

                                  23   question. (Id.) Defendants produced a declaration from Gary M. Lawkowski, Deputy Assistant

                                  24   and Deputy Counsel to the President, on July 3, 2025 (the “Lawkowski Declaration”). (Dkt. No.

                                  25   240.)

                                  26           The Lawkowski Declaration explains that the documents in question each concern, in

                                  27   pertinent part, an email from Matthew R. Ochoa. (Id.) Mr. Ochoa is the Director for Interior

                                  28   Enforcement on the Homeland Security Council, a policy counsel to the president
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                                   1   “administratively located” within the National Security Council in the Executive Office of the

                                   2   President. (Id.) The email was a request to provide specific documents and status updates in

                                   3   preparation for a meeting on Executive Order 14159, which focused on immigration policy. (Id.)

                                   4   The requests were directed to the officials at the Department of Homeland Security, Department of

                                   5   Justice, and Department of State. (Id.) Mr. Lawkowski provides that the email “reflects the policy

                                   6   priorities for the [Homeland Security Council] and the information required for [the Homeland

                                   7   Security Council] to fulfill their advisory role. (Id.)

                                   8                                                 ANALYSIS

                                   9           The presidential communications privilege protects “documents or other materials that

                                  10   reflect presidential decisionmaking and deliberations . . . .” In re Sealed Case, 121 F.3d 729, 744

                                  11   (D.C. Cir. 1997). Accordingly, the privilege extends only to communications by (1) individuals

                                  12   “close enough to the President to be revelatory of his deliberations or to pose a risk to the candor
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                                  13   of his advisers” and (2) “communications that these advisers and their staff author or solicit and

                                  14   receive in the course of performing their function of advising the President on official government

                                  15   matters.” Id. at 572. Here, both requirements are met.

                                  16           First, the presidential communications privilege extends to the President, presidential

                                  17   advisors, and “those members of an immediate White House advisor’s staff who have broad and

                                  18   significant responsibility for investigating and formulating the advice to be given to the President

                                  19   on a particular matter.” Id. at 757. For example, in In re Sealed, the D.C. Circuit held that

                                  20   documents authored by two associate White House Counsel fell within the privilege because the

                                  21   counsel “exercised broad and significant responsibility for gathering information . . . and

                                  22   authoring initial drafts . . .” Id. at 758.

                                  23           Like the associate White House Counsel, Ochoa is “close enough to the President.” See Id.

                                  24   at 572. Ochoa supports the Homeland Security Advisor and is thus a member of an “immediate

                                  25   White House advisor’s staff.” See id. at 757; (Dkt. No. 240.). He holds a director-level position

                                  26   in which he “assists in investigating and formulating advice for the President,” (Dkt. No. 240), as

                                  27   evidenced by his apparent role in gathering information to inform policy decisions related to

                                  28   Executive Order 14159. Ochoa is not “outside the White House in [an] executive branch

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                                   1   agenc[y],” see In re Sealed Case, 121 F.3d at 752, but rather, works for an advisory council

                                   2   “administratively located . . . in the Executive Office of the President.” (Dkt. No. 240.) As such,

                                   3   Ochoa holds “broad and significant responsibility for investigating and formulating the advice to

                                   4   be given to the President” required for application of the presidential communications privilege.

                                   5   See In re Sealed Case, 121 F.3d at 757.

                                   6          Second, the communications must relate to the process of advising the President. Id. at

                                   7   752. Presidential advisors do not “pull their final advice . . . out of thin air” but “investigate the

                                   8   factual context of a problem in detail, obtain input from all others with significant expertise in the

                                   9   area, and perform detailed analyses of several different policy options before coming to closure on

                                  10   a recommendation for the Chief Executive.” See Id. at 750 (emphasis added). Thus, efforts to

                                  11   collect information relevant to policymaking may fall within the privilege. See id. at 758

                                  12   (extending privilege to “outlines of issues and questions that needed to be investigated”). Here,
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                                  13   Ochoa was seeking input from relevant experts to inform presidential decision-making regarding

                                  14   immigration policy. As such, his email relates to the process of advising the President.

                                  15          The six withheld documents were solicited by a presidential advisor’s staff member for the

                                  16   purpose of investigating the advice to be given to the President and are thus subject to the

                                  17   presidential communications privilege.

                                  18          The presidential communications privilege is not absolute, and it can be overcome by a

                                  19   showing “that the evidence sought [is] directly relevant to issues that are expected to be central to

                                  20   the trial” and “is not available with due diligence elsewhere.” Id. at 754. The Undersigned need

                                  21   not address this issue because Plaintiffs have not argued that their need for the documents

                                  22   outweighs the privilege. (Dkt. No. 197.)

                                  23          It is HEREBY ORDERED that Defendants need not produce the six documents withheld

                                  24   under the presidential communications privilege.

                                  25          IT IS SO ORDERED.

                                  26   Dated: July 7, 2025

                                  27                                                     ______________________________________
                                                                                         SALLIE KIM
                                  28                                                     United States Magistrate Judge
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